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 4
     Attorney for Henry James Barlow
 5
                          UNITED STATES DISTRICT COURT
 6
                         EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES of AMERICA,        No. 2:17-cr-0048 JAM
 9
                   Plaintiff,
10                                    STIPULATION AND ORDER MODIFYING DATE
          v.                          FOR STATUS CONFERENCE
11
     Henry James Barlow, and
12   Jesse David Richardson           Date:    June 20, 2017
                                      Time:    9:15 a.m.
13                 Defendant.         Judge:   Mendez
14

15        IT IS HEREBY STIPULATED between Assistant United States
16   Attorney TIMOTHY H. DELGADO, Counsel for Plaintiff, Jeffrey L.
17   Staniels, CJA Counsel for Defendant Henry James Barlow, and
18   Assistant Federal Defender Jerome Price, Counsel for Defendant
19   Jesse David Richardson, that the date for status conference
20   recently calendared for June 20, 2017, at 9:15 a.m. before this
21   court be advanced one week to June 13, 2017, at 9:15 a.m.
22        This modification of date is requested in order to avoid a
23   conflict due to Mr. Staniels' unavailability on June 20, 2017,
24   which he inadvertently overlooked when dates were requested and
25   set during the April 11, status conference.
26        IT IS FURTHER STIPULATED that the exclusion of time for
27   trial under the Speedy Trial Act until June 20, 2017, which was
28
                                          1
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 1   agreed to on the record on April 11, 2017, also be modified to
 2   extend until the status conference on June 13, 2017.
 3           IT IS SO STIPULATED
 4                                        Respectfully submitted,
 5

 6   Dated: April 11, 2017                /s/Timothy H. Delgado
                                          AUSA Timothy H. Delgado
 7                                        Counsel for Plaintiff

 8   Dated:     April 11, 2017            /s/Jerome Price
                                          AFD Jerome Price
 9                                        Counsel for Jesse David Richardson
10
     Dated:     April 11, 2017            /s/Jeffrey L. Staniels
11                                        JEFFREY L. STANIELS
                                          Attorney for Henry James Barlow
12

13
                                           O R D E R
14

15           The above stipulation of the parties is hereby GRANTED.

16           Scheduling orders and time exclusions entered on the record

17   on April 11, 2017 are hereby vacated.           This matter is placed on
18   calendar for status conference on June 13, 2017, at 9:15 a.m.
19
     Time for trial under the Speedy Trial Act is excluded until June
20
     13, 2017, pursuant to 18 U.S.C. §3161(h)(7)(B)(iv), Local Code T-
21
     4.
22
             IT IS SO ORDERED.
23

24                       By the Court,

25

26   Dated: April 12, 2017                /s/ John A. Mendez________
                                          Hon. John A. Mendez
27
                                          U.S. District Court Judge
28
                                             2
